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UNITED STATES DISTRICT COURT FILE_D

SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISI()N MAH 2 0 295@
'N%'§‘\'/\l§l/§§E’S GFF/CE
UNITED STATES OF AMERICA, ) . S’ /ND/ANA
Plaintiff, §
V. § CAUSE NO.
FJS§H§X§&§§E§§W, § 12 1 8 'Cr' @ 0 § 4 SEB -DML
Defendant. §
M
M

[18 U.S.C. § 922(g)(l)- Felon in Possession of a Firearm]

The Grand Jury charges that:

On or about February 15, 2018, in Marion County, in the Southern District of Indiana,
MATTHEW BARRETT, defendant herein, did knowingly possess in commerce and affecting
' commerce a firearm, to wit: one Raven Arrns .25 caliber handgun bearing serial number 491001,
after having been convicted of a crime punishable by a term of imprisonment exceeding one (l)
year, to wit: felony Carrying a Handgun Without a License and felony Possession of a Controlled
Substance in Johnson County, Indiana, under cause 4lCOl-l312-FC-108 on or about March 6,
2014.v l

All of Which is in violation of Title 18, United States Code, Section 922(g)(l).

 

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FORFEITURE

l. l Pursuant to Federal Rule of Criminal Procedure 32.2, the United States hereby
gives the defendant notice that the United States Will seek forfeiture of property, criminally
and/or civilly, pursuant to Title 18, United States Code, Section 924(d) and Title 28, United
States Code, Section 2461(0), as part of any sentence imposed.

2. Pursuant to Title 18, United States Code, Section 924(d), if convicted of an
offense set forth in this Indictment, the defendant shall forfeit to the United States “any firearm
or ammunition involved in or used in” the offense.

3. The property subject to forfeiture includes, but is not necessarily limited to:

A. One Raven Arms .25 caliber handgun bearing serial number 491001; and

B. Any ammunition located With the Hrearm.

4. The United States shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), and as incorporated by Title 28, United States Code,
Section 2461(0), if any of the property described above in paragraph 3, as a result of any act or
omission of the defendant

A. cannot be located upon the exercise of due diligence;

B. has been transferred or sold to, or deposited With, a third party;

' C. has been placed beyond the jurisdiction of the court;

 

 

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D. has been substantially diminished in value; or
E. has been commingled With other property which cannot be divided
Without difficulty.
A TRUE BILL:

 

FOREPERSON

JOSH J. MINKLER
United States Attorney

Q/<~ M»

Pamela S. Domash
Assistant United States Attorney

 

 

 

